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 16
                                 UNITED STATES DISTRICT COURT
 17                             CENTRAL DISTRICT OF CALIFORNIA
 18
      VERNON UNSWORTH,                                Case No. 2:18-cv-08048-SVW (JCx)
 19
            Plaintiff,                                Judge: Hon. Stephen V. Wilson
 20
      v.                                              PLAINTIFF’S UNOPPOSED MOTION
 21                                                   FOR EXTENSION OF TIME TO
 22   ELON MUSK,                                      RESPOND TO MOTION FOR
                                                      SUMMARY JUDGMENT
 23         Defendant.
                                                      Complaint Filed: September 17, 2019
 24                                                   Trial Date: December 3, 2019
 25                                                   Hearing Date: October 28, 2019
 26                                                   Time:         1:30 p.m.
                                                      Courtroom:    10A
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  1          TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  2          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 6(b) and L.R. 6-1, Plaintiff

  3   Vernon Unsworth hereby files his Unopposed Motion for Extension of Time to Respond to

  4   Defendant Elon Musk’s Motion for Summary Judgment, showing the Court as follows:

  5          1.      On September 16, 2019, Defendant Elon Musk (“Musk”) filed his Motion for

  6   Summary Judgment [Dkt. 58-62]. The Motion for Summary Judgment is set for a hearing on

  7   October 28, 2019. [Dkt. 58].

  8          2.      Pursuant to the parties’ Joint Stipulation to Request Amendments to Scheduling

  9   Order [Dkt. 64], the Court’s Order Amending Scheduling Order [Dkt. 69], and the original

 10   Scheduling Order [Dkt. 54 Attachment A], Plaintiff Vernon Unsworth’s (“Unsworth”) opposition

 11   to the Motion for Summary Judgment is currently due on Friday October 4, 2019, and Musk’s

 12   reply is due Monday October 14, 2019.

 13          3.      As referenced in the parties’ Joint Stipulation to Request Amendments to

 14   Scheduling Order, Unsworth is taking by agreement the depositions of four additional fact

 15   witnesses, including Sam Teller on September 30, 2019, Dave Arnold on October 1, 2019, Steve

 16   Davis on October 1, 2019, and Juleanna Glover on October 8, 2019.

 17          4.      To take depositions on September 30 and October 1, 2019, to obtain transcripts

 18   from those depositions, and to review and include the testimony from each, if necessary, in his

 19   opposition to Musk’s Motion for Summary Judgment, Unsworth requests that the Court grant a

 20   three-day extension of his deadline to respond to the Motion for Summary Judgment from Friday
 21   October 4, 2019, to Monday October 7, 2019, as well as a reciprocal three-day extension of Musk’s

 22   deadline to file his reply brief from Monday October 14, 2019, to Thursday October 17, 2019.

 23          5.      The parties recognize the importance of L.R. 7-10, providing that reply papers must

 24   be filed “not later than fourteen (14) days before the date designated for the hearing on the motion,”

 25   but due to the shortened briefing schedule and discovery yet to be taken, Unsworth respectfully

 26   requests this brief extension.
 27          6.      Unsworth has confirmed with Musk that Musk does not oppose the relief sought

 28   herein as well as his agreement as to its form, so long as it does not disturb the October 28, 2019,

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  1   hearing date.

  2          WHEREFORE, for good cause shown, Unsworth requests that the Court enter an order

  3   extending Unsworth’s deadline to respond to the Motion for Summary Judgment through and

  4   including Monday October 7, 2019, and Musk’s deadline to file his reply in support of the Motion

  5   for Summary Judgment through and including Thursday October 17, 2019. A proposed Order is

  6   attached hereto pursuant to L.R. 7-20 and 52-4.1.

  7   Dated: September 27, 2019                   L. LIN WOOD, P.C.

  8                                               By: /s/L. Lin Wood
  9                                               L. Lin Wood

 10                                               Attorneys for Plaintiff
                                                  VERNON UNSWORTH
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